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193.176.84.29 IP Address Details - IPinfo.io                                            https://ipinfo.io/193.176.84.29
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193.176.84.29 IP Address Details - IPinfo.io                                            https://ipinfo.io/193.176.84.29
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